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                           UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,        )               Case No. 09-60331-CR-COHN
                                   )
                   Plaintiff,      )
        v.                         )
                                   )
  SCOTT W. ROTHSTEIN,              )
                                   )
                   Defendant.      )
  _________________________________)

   DEFENDANT SCOTT ROTHSTEIN’S OPPOSITION AND INCORPORATED
   MEMORANDUM OF LAW TO GOVERNMENT’S MOTION TO WITHDRAW
            IT’S MOTION FOR REDUCTION OF SENTENCE

  I.     SUMMARY OF THE ARGUMENT
         The Government’s motion to withdraw alleges that in the judgment of the United
  States, Rothstein violated his plea agreement by providing false material information to the
  Government and that therefore in the exercise of their sole discretion they move to
  withdraw the Rule 35 Motion. This allegation is problematic for the Government on
  several levels. First, the Government’s motion is insufficient on its face and must be
  denied. The Government has alleged no facts whatsoever in support of this allegation. As
  the party alleging a breach the Government must prove the breach by a preponderance of
  the evidence. The defendant cannot rebut any of the factual allegations supporting the
  Government’s position because not one single fact is alleged. Rothstein cannot be expected
  to swing wildly at ghosts. The Government is attempting to avoid its obligations under the
  plea agreement by making mere conclusory unsubstantiated allegations of breach.
  Conclusory allegations are insufficient to prove by a preponderance of the evidence. At a
  minimum, Rothstein is entitled to an evidentiary hearing on the issue of his alleged breach.
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         However, even if the Government had alleged sufficient facts in support of its
  allegations that Rothstein violated the plea agreement, the Government would still be
  prohibited from withdrawing the Rule 35 Motion, as the plea agreement does not permit
  such an act by the Government once the motion is filed. The Government, having drafted
  the plea agreement, intentionally included specific language regarding its discretion to file
  a rule 35, but chose not to reserve any right to withdraw such motion once it was filed.
  Instead, now the Government argues that it reserved such a right in the Rule 35 Motion
  itself filed a year and a half later. Having not warned Rothstein of that consequence in the
  plea agreement, this new provision clearly alters the initial contract between the parties,
  which is not enforceable under prevailing law and would constitute a breach by the
  Government of the original plea agreement.
         The Government further argues that its discretion to file the motion automatically
  includes its discretion to withdraw the motion. In support of that position the Government
  is unable to cite to any authority in this Circuit. Instead, it relies upon cases “borrowed”
  from other Circuits, which are clearly factually and legally distinguishable and fail to
  undertake the very plea agreement analysis commonly used in this Circuit.
         That Rothstein provided substantial assistance to the Government meriting the filing
  of the Rule 35 Motion cannot be disputed. Indeed, the Government represented in its Rule
  35 Motion that Rothstein had already provided substantial assistance and that it wanted the
  Court to stay ruling pending the completion of all of Rothstein’s assistance.
         Now, the only remedy left once the Government exercises its discretion to evaluate
  the cooperation and file, is for the Government to inform the Court of any issues during the
  actual rule 35 hearing. As such, Rothstein is entitled to a hearing on the Rule 35 Motion.
  II.    ARGUMENT AND LEGAL AUTHORITIES
         The Government bears the burden of proving that the defendant breached his
  agreement by a preponderance of the evidence. See United States v Plasencia –Orozco,
  No.15-50143, (9th Cir.May 2017) citing United States v. Packwood, 848 F2d.1009 (9th Cir

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  1988). “The Government cannot unilaterally declare that a defendant has breached the plea
  agreement and thus relieve itself from its obligations under the bargain… Instead, the
  Government must prove by a preponderance of the evidence that the defendant has
  materially breached the agreement..” United States v. Titus, 547 Fed Appx 464 (5th Cir.
  2013) citing United States v Castaneda, 162 F3d 832, 836 (5th Cir. 1998). “Rooted in due
  process concerns, the rationale for requiring proof of material breach is to provide the
  defendant with the opportunity to debate the issue in court. Titus, citing United States v.
  Miller, 406 F3d 323,334 (5th Cir.2005).
         Here, the Government’s motion is devoid of any specific factual allegations to
  support its mere conclusory statement that Rothstein provided “false material information
  to the Government.” The Government offers no proof, either in the form of documents,
  sworn statements or other evidence to carry its burden and as such its motion should be
  denied. Under the circumstances, this Court is not in a position to weigh or even evaluate
  the quantum of proof, since none is offered. Nor is this Court in a position to determine that
  any such breach, if proven, was material. In the absence of any specific allegation and
  evidence thereof, Rothstein is denied the opportunity to “debate the issue in court” (see
  Miller supra) Moreover, in the absence of any specific proof, this Court is denied the
  opportunity to weigh the benefits received by the Government from Rothstein’s
  cooperation (set forth in detail below) against the violations by the defendant.            See
  Casteneda at 839. Given the enormity of Rothstein’s 50-year sentence, which for him is
  tantamount to life in prison, fairness and all notions of due process demand that the
  Government come forward with more than a blanket conclusory statement, bereft of proof.
         Nowhere in the plea agreement does the Government advice Rothstein that it
  reserves the right to withdraw its Rule 35 Motion once filed, in the event of Rothstein
  doing or failing to do something. Despite using 18 lines in the agreement to explain in
  detail its rights and obligations, including its sole discretion whether to file the motion, the
  Government specifically chose not to include any reservation of discretion to withdraw that

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  motion, once filed. Nor does the agreement warn Rothstein that he risks Government
  withdrawal of a Rule 35 Motion for any failure of condition on his part. Nowhere in the
  paragraphs detailing Rothstein’s obligations under the agreement does it provide any
  warning on this issue. The inclusion of this language for the first time a year and a half
  later in the Government’s Rule 35 Motion clearly points out that the Government was well
  aware of the importance of preserving this right and more critically, putting Rothstein on
  notice of the consequences. However, the inclusion of this language in the rule 35 but not
  in the plea agreement and letter agreement is fatal to the position taken by the Government
  in its motion to withdraw the Rule 35 Motion. A plea agreement is a contract between the
  defendant and the United States. Therefore, although constrained at times by due process
  implications, commercial contract principles govern the interpretation and enforcement of
  plea agreements. United States v. San Pedro, 781 F.Supp. 761 (S.D. FL. 1991) citing
  United States v. Jeffries, 908 F2d 1520 (11th Cir. 1990). It is black letter law that one party
  to an agreement cannot, without the other party’s consent, unilaterally modify the
  agreement once it has been executed. Kuhne v. Florida Department of Corrections, et al.,
  745 F2d 1091 (11th Cir. 2016.) No modification can occur unless it is by mutual consent
  and supported by consideration. Rhodes v. BLP assocs. Inc., 944 So.2d. 527, 530 (Fla. 4th
  DCA 2006).
         Instead, the Government is asking this Court to read it’s discretion to withdraw the
  motion into the plea agreement by virtue of the plea agreement granting it the sole
  discretion to file the motion in the first place. However this flies in the face of well-
  established law in this Circuit regarding the strict interpretation of plea agreements. The
  prosecutors who drafted the plea agreement and the letter between the Government and
  Rothstein enjoy overwhelmingly superior bargaining power and thus Courts strictly
  construe plea agreements against the Government. See United States v. Jeffries, 908 F2d
  1520 (11th Cir. 1990). Both constitutional and supervisory concerns require holding the
  Government to a greater degree of responsibility than the defendant for imprecisions or

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  ambiguities in plea agreement. Boswell v. Crews, 2013 US Dist. LEXIS 164015 (11th
  Cir.2013), citing Jeffries at 1523. As Judge Highsmith noted in United States v. Ganz, 806
  F.Supp 1567, (S.D. FL. Nov 17, 1992) “as the trustee of the people, the Government is held
  to a higher standard in carrying out our common duties, including the prosecution of
  crimes. This higher standard requires the sovereign to perform its contractual duties with a
  sharpened sense of good faith and fair dealing. The fact that the other party is a criminal
  defendant does not alter the Government’s duty.” Id at 1575. A plea agreement must
  adequately warn the defendant of the consequences of his plea and the Court must construe
  the agreement in light of the fact that it constitutes a waiver of substantial constitutional
  rights. United States v. Hunter, 835 F3d 1320, 1324 (11th Cir. 2016) citing United States v.
  Jeffries, 908 F2d 1520, 1523 (11th Cir. 1990). A plea agreement must be interpreted based
  upon what it says, not what it might have said if the Government could have foreseen the
  future. United States v. Melton, 861 F.3d 1320 (11th Cir.1990). Nor can the Government
  simply argue that the plea agreement somehow reflects its intention to reserve the
  discretion to withdraw. Where the Government neglects to include language in the plea
  agreement to reflect the Government’s alleged intention, the court cannot simply fill in the
  gap left by the Government with the language it should have included. United States v.
  Copeland, 381 F.3d 1101, 1109 (11th Cir. 2004). Where as here, the plea agreement is
  unambiguous, the court cannot consider parole evidence in interpreting the agreement.
  Copeland at 1105. As such, the government cannot come into court now and suggest or
  offer additional material to suggest a broader interpretation of what the agreement says.
  Here the plea agreement says nothing about the right to withdraw. Silence is not ambiguity.
  Melton at 1328. Rothstein respectfully submits that the court does not have the power
  under the law to ink in a modification or interpret the language beyond its plain and
  ordinary usage. See Melton supra, Copeland supra and Jeffries supra.
         The cases that the Government relies upon to support its position that it has the sole
  discretion to withdraw the motion can easily be distinguished on the facts presented and the

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  legal reasoning used to justify the holding in each case. The Government cites to United
  States v. Hartwell, 448 F3d 707 (4th Cir.2005), wherein the Court held that the language
  giving the government the sole discretion to file a Rule 35 Motion also included the
  discretion to file a Motion to Withdraw it.        Hartwell at 718.     However, what the
  Government fails to note in its Motion to Withdraw is that the holding at Hartwell was
  based upon the undisputed fact that Mr. Hartwell, himself, had in fact, explicitly agreed to
  language giving the Government the right to withdraw his Rule 35. While Hartwell’s
  assistance was ongoing, and he and the Government were in negotiations regarding his
  cooperation and the filing of his Rule 35, Hartwell explicitly agreed that if he failed to
  fulfill his responsibility to the Government, the Government could withdraw the Rule 35
  without objection by the defendant. Hartwell at 711. No such agreement has ever existed
  between Rothstein and the Government.            Clearly, in Hartwell the defendant “was
  adequately warned of the consequences of his plea” a fact that does not exist here.
         The Government also relies upon the Court’s holding in United States v. Shropshire,
  278 F.Appx.528 (6th Cir. 2008). While the Shropshire opinion does hold that the district
  court did not err in allowing the Government to withdraw the rule 35, it did not address,
  because the defendant there didn’t raise, whether the plea agreement adequately warned
  Shropshire of the consequences of his plea; what Shropshire reasonable understanding of
  the terms of his plea agreement were or the Government was attempting to improperly
  have the Court read new language into the plea agreement.             Most importantly, the
  Shropshire opinion is based on a factual scenario completely different from Rothstein’s
  situation.   In Shropshire, at the time the Government filed its Rule 35 Motion, the
  Government specifically stated “unknown at that time the information provided by
  Shropshire would result in substantial assistance.” Shropshire at 523. The motion as being
  filed in order to protect the defendant’s ability to receive a downward departure in the
  event that the assistance would be determined to be substantial (i.e. a saving motion). This
  is the polar opposite of Rothstein’s case. Prior to the Government’s filing of its Rule 35

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  Motion, Rothstein had already rendered what can only be described as extraordinary
  substantial assistance to the Government, in fact, in its Rule 35 Motion the Government
  expressly represents that Rothstein had already rendered substantial assistance to the
  Government. (DE 767).
         Many of the details concerning Rothstein’s substantial assistance to the Government
  are public knowledge and may be known to this Court; such as the fact that Rothstein came
  back from a non-extradition country to cooperate with the Government without any
  agreement or promises; that Rothstein spent hundreds of hours debriefing with
  Government attorneys and agents        and reviewed and analyzed tens of thousands of
  documents providing critical unknown details of his scheme and the involvement of others
  as well as the complicated financial transactions involved. Also this Court undoubtedly is
  well aware of the fact that as a result of Rothstein’s extraordinary cooperation more than 30
  individuals were successfully prosecuted and in what is unprecedented in large scale
  financial crime cases, all of the financial victims have been made whole, What may not be
  as well-known, but would be shown to this Court at a Rule 35 hearing in greater detail, is
  that as part of his cooperation which also formed the basis for the government’s exercise of
  its discretion in filing the Rule 35 Motion was Rothstein’s proactive cooperation- working
  undercover wearing a wire against dangerous armed criminals, repeatedly putting his life in
  mortal danger, which resulted in arrests of significant Government targets. In addition,
  Rothstein uncovered at great risk to his safety through active cooperation, corruption at the
  highest levels of the Broward Sherriff’s office. In addition, Rothstein worked undercover
  at the Federal Detention Center, literally trapped with the people he was gathering
  information about. This just a portion of what made up the basis for the Government’s
  filing of the Rule 35 Motion.
         As much as the Government wishes to characterize its Rule 35 Motion as a
  placeholder motion, the motion on its face seeks to stay ruling in order for the full extent of
  Rothstein’s cooperation to be completed and considered by the Court. The Government

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  stated that it was filing the rule 35 for two reasons: First, in an abundance of caution to
  preserve the Court’s jurisdiction (correctly noting that rule 35 (b)(2) makes such a motion
  wholly unnecessary), and Second, to permit the Court to consider all of the defendant’s
  cooperation in order to determine the appropriateness of a reduction of the defendant’s
  sentence. (DE 767 p.2 para.5).
         Also cited by the Government in support of its argument that the sole discretion to
  file the rule 35 includes the discretion to withdraw same motion is United States v.
  Emerson, 349 F3d 986 (7th Cir.2003). However, a thorough analysis of the facts and
  holding in Emerson reveals a case which, much like Hartwell and Shropshire provides
  absolutely no support for the Government’s position here. The facts in Emerson reveal that
  the defendant never provided substantial assistance to the Government. The crux of the
  Emerson opinion turns on a finding that the appellate waiver section of Emerson’s plea
  agreement contains language, which included appeals involving reductions in sentence for
  cooperating. The Seventh Circuit held that Emerson waived his right to appeal anything
  involving his sentence including a reduction for cooperation, the Court also held that the
  Government did not abuse its discretion when it determined that Emerson did not provided
  substantial assistance. Clearly, none of the issues that Rothstein now presents before this
  Court were considered in Emerson.
         In support of its position, the Government also cites this Court to the Fourth
  Circuit’s holding in United States v. Keller, 185 Fed Appx.290 (4th Cir. 2006).
  Unfortunately, Keller is a per curium affirmed opinion containing absolutely no recitation
  of the facts involved, making a factual comparison to Rothstein’s case impossible. Without
  conducting any analysis, the Keller court in its opinion makes a blanket statement that
  “whether to file rule 35(b) motion is a matter left to the Government discretion” (Keller at
  292) from there a Keller court affirms the district court order allowing the Government to
  withdraw its “conditional rule 35 (b) motion.” Nothing else is offered. As such, there is no
  way to determine how the rule 35 (b) motion was conditional. More importantly, the

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  Keller court did not engage in any plea agreement analysis that the Eleventh Circuit
  conducts under Hunter supra, Jeffries supra, Copeland supra and Melton supra.
         The final case relied on by the Government in support of its motion to withdraw
  Rothstein’s rule 35 is United States v. Farmer, 382 Fed Appx 303 (4th Cir 2010). Just as
  with the other cases relied on by the Government, Farmer offers the Government no
  support in the case at bar. Farmer raises two arguments: (1) The district court erred by
  permitting the Government to withdraw its rule 35 where the Government had represented
  that he had completed his assistance and (2) The district court abused its discretion in not
  holding an evidentiary hearing on his motion. Farmer never raises any of the key issues
  raised in the present case: Farmer never argued that the plea agreement failed to adequately
  warn him that one of the consequences of his plea was that the Government was retaining
  the discretion to withdraw his rule 35, regardless of his level of cooperation; Farmer never
  argued anything pertaining to what his reasonable understanding of his plea agreement was
  at the time he entered his plea; Farmer never argued that if the language of the plea
  agreement is unambiguous the Court cannot consider parole evidence and must give the
  language of the agreement its usual and ordinary meaning in plain English; Farmer never
  argued that the Court, by finding that the sole discretion to file rule 35 somehow includes
  the discretion to move to withdraw it, is in essence impermissibly rewriting a material
  portion of the plea agreement to include a term the Government now wishes it had included
  but did not; Farmer never argued that if the court finds the language to be ambiguous that
  the Court must construe the language against the Government; and Farmer never argued
  that the plea agreement must be interpreted based upon what it actually says, not based
  upon what the Government might have said had it been able to foresee the future.
         Each of these arguments is raised in the case at bar and go directly to the issue of
  whether the Government has retained the discretion to withdraw the rule 35. Farmer
  provides absolutely no insight as to any of these critical issues of plea agreement
  interpretation. The Farmer court simply extracts one piece of the Hartwell holding, i.e.

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   that the sole discretion to file a rule 35 includes the discretion to withdraw it. Farmer at
   305. However, it cites to this holding completely ignoring the key element upon which the
   Hartwell court based its holding… that Hartwell had, in his plea agreement and on at least
   one other occasion, explicitly agreed that the Government was retaining the discretion to
   withdraw the rule 35. Hartwell at 709, 711.
          More to the point is the Second Circuit’s opinion in United States v. Padilla, 186
   F3d 136 (2nd Cir. 1999) wherein the Court dealt with an analogous factual scenario to
   Rothstein’s involving the Government’s failure to reserve in the plea agreement it’s
   discretion to withdraw its 5k1.1 motion, once filed. In Padilla, the Court held:
              “reading the agreement strictly against the Government, as our precedent
       requires, we conclude that it prohibits the Government from withdrawing the
       Section 5K1.1 and 18 U.S.C. § 3553(e) motion because it failed to enumerate
       specifically the right to withdraw the motion in the several specific and serious
       consequences that would follow if Padilla committed further crimes or
       otherwise violated the agreement. See Gottesman, 122 F.3d at 151-52 (“[I]t
       would seem self-evident that for a court to order restitution ․ the plea
       agreement might be expected to mention the word ‘restitution.’ “). The right to
       withdraw motions for violation of the terms of a plea agreement has been
       specifically included in such agreements, as shown in United States v.
       Anzalone, 148 F.3d 940, 942-43 (8th Cir.) (Murphy, J., dissenting), vacated and
       reh’g en banc granted, 148 F.3d 940, reinstated and reh’g en banc denied, 161
       F.3d 1125 (1998). The district court, therefore, erred in allowing withdrawal.”
          Nor can the Government argue that the underlying plea agreement’s silence on
   withdrawal of the Rule 35 Motion can be interpreted as not prohibiting the withdrawal.
   The Eleventh Circuit’s decision in the case of In Re Arnett, 804 F 2d 1200 (11th Cir. 1986)
   dealt with an analogous argument by the Government wherein it claimed that the plea
   agreement’s silence on forfeiture could be interpreted as not prohibiting the Government’s

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   subsequent forfeiture actions.     The Court’s opinion in Arnett is instructive, if not
   controlling, wherein it held:
               “The government asserts that we must permit its action against the farm
        since the written plea agreement does not explicitly prohibit a later forfeiture
        action. We cannot accept such a hyper-technical reading of the written
        agreement. A guilty plea is more than an admission of past conduct; it is a
        waiver of the right to trial before a judge or jury. To constitute a valid waiver
        of substantial constitutional rights, a guilty plea must represent a voluntary,
        knowing, intelligent act, and must be offered with sufficient awareness of the
        likely consequences. Brady v. United States, 397 U.S. 742, 748, 90 S.Ct.
        1463, 1468, 25 L.Ed.2d 747 (1970); United States v. French, 719 F.2d 387,
        390 (11th Cir.1983), cert. denied, 466 U.S. 960, 104 S.Ct. 2174, 80 L.Ed.2d
        557 (1984). See Fed.R.Crim. P.11. When viewed against the background of
        the negotiations, the written plea agreement cannot support a valid waiver of
        Arnett’s constitutional rights because it does not sufficiently warn him that he
        may lose his farm. The written agreement nowhere states that a further
        forfeiture will be permitted: it specifies an agreed upon forfeiture, but does not
        reserve any right in the government to take further, similar action. The
        government urges an interpretation of the plea agreement, which directly
        contradicts the oral understanding. Such a delicate parsing of the written
        language cannot support a finding that the defendant has forthrightly waived
        his constitutional rights as the law requires. “A plea agreement is not an
        appropriate context for the government to resort to a rigidly literal approach in
        the construction of language.” United States v. Bowler, 585 F.2d 851, 854 (7th
        Cir.1978).    See, e.g., United States v. Harvey, 791 F.2d 294, 303 (4th
        Cir.1986) (ambiguous        plea agreement “must        be read against the
        Government”); United States v. Crusco, 536 F.2d 21, 26 (3d Cir.1976) (“strict

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          and narrow interpretation of [government’s] commitment is untenable”);
          Correale v. United States, 479 F.2d 944, 947 (1st Cir.1973) (government held
          to “most meticulous standards of both promise and performance”).”
   Arnett at 1201.
   III.    CONCLUSION
           The Government’s motion to withdraw should be denied, as it is legally insufficient
   on its face. Furthermore, the Government’s failure to reserve it’s discretion to withdraw a
   Rule 35 Motion in the plain language of the plea agreement cannot be cured by inserting
   such language later in the Rule 35 Motion itself. Permitting such a result would be an
   illegal modification of the plea agreement. Under the circumstances, Rothstein is entitled to
   have the Court consider the Rule 35 Motion. The Government retains the discretion to
   advise the court of all of the facts and circumstances of Rothstein’s cooperation.
           WHEREFORE, for the reasons argued above, this Court is respectfully requested to
   deny the Government’s motion to withdraw and to conduct a hearing on the Government’s
   previously filed Rule 35 Motion.

                                Respectfully Submitted,

   February 12, 2018                                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on February 12, 2018, I electronically filed the foregoing with
   the Clerk of Court using CM/ECF. I also certify that the foregoing document is being
   served this day on all counsel of record via transmission of Notices of Electronic Filing
   generated by CM/ECF or in some other authorized manner for those counselor parties
   who are not authorized to receive electrically Notices of Electronic Filing.


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